             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     STATESVILLE DIVISION
                       5:17 CV 73 MR WCM

COBEY LAKEMPER,                              )
                                             )
                        Plaintiff,           )
                                             )
v.                                           )
                                             )
GEORGE T. SOLOMON, Director of Prisons, )
ERIC T. DYE, Assistant Superintendent –      )
Alexander C.I., BENJAMIN A. CARVER,          )
Assistant Superintendent - Alexander C.I.,   )
ARTHUR A. SICIAK, Unit Manager –             )           ORDER
Alexander C.I., RUSSELL CHESTER,             )
THOMAS DULA, CHRISTOPHER RICH,               )
Chief SRG Coordinator – Division of Prisons, )
FELIX TAYLOR, Superintendent –               )
Pasquotank C.I., COLBERT RESPESS,            )
Assistant Superintendent –Pasquotank C.I.,   )
JOSEPH HARRELL, Assistant                    )
Superintendent – Pasquotank C.I.,            )
LEVI BROTHERS, SRG Correctional Officer – )
Pasquotank C.I., LARRY SWAIN, SRG            )
Correctional Officer – Pasquotank C.I.,      )
FNU BLANKENSHIP, Correctional Officer – )
Alexander C.I., KENNETH E. LASSITER,         )
Director of Prisons                          )
                                             )
                        Defendants.          )
__________________________________           )

     This matter is before the Court on:

  (1) A Motion for Extension of Time to File Stipulation of Dismissal (the

     “Motion for Extension,” Doc. 131) filed by Defendants Brothers, Swain,

     Chester, and Dula; and



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   (2) An “Emergency Motion Asking Court Not to Dismiss this Case in the

      Event Defendants Fail to File Agreement or Stipulation by October 19,

      2020 (“Plaintiff’s Motion,” Doc. 132).

      On September 16, 2020, the undersigned conducted a telephonic judicial

settlement conference in this matter. Agreement was reached as to all issues,

and the deadline for the filing of an agreement for entry of judgment or a

stipulation of dismissal was set for October 19, 2020.

      By the Motion for Extension, Defendants move for a seven-day extension

of time to file a stipulation of dismissal. Defendants state that Plaintiff has

consented to the requested extension. Doc. 131.

      In Plaintiff’s Motion, Plaintiff requests that the Court not dismiss the

case in the event Defendants fail to file the required closing documents timely.

Doc. 132. Instead, Plaintiff requests that should Defendants neglect to file by

the deadline that the Court proceed with trial in January 2021 “as if the

settlement conference did not occur, or order the defendants to comply with the

terms of the conference.” Id. at p. 2.

      For the reasons set forth in the Motion for Extension, that motion will

be allowed. Plaintiff’s Motion will, consequently, be denied without prejudice.




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   IT IS THEREFORE ORDERED that:

(1) The Motion for Extension of Time to File Stipulation of Dismissal (Doc.

   131) is GRANTED, and the deadline for the filing of an agreement for

   entry of judgment or a stipulation of dismissal is EXTENDED by seven

   days through and including October 26, 2020.

(2) Plaintiff’s “Emergency Motion Asking Court Not to Dismiss this Case in

   the Event Defendants Fail to File Agreement or Stipulation by October

   19, 2020” (Doc. 132) is DENIED WITHOUT PREJUDICE.




                                 Signed: October 19, 2020




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